       Case 2:20-cv-00239-SMJ     ECF No. 12    filed 10/21/20   PageID.110 Page 1 of 1

                                                                               FILED IN THE
                                                                           U.S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF WASHINGTON

1
                                                                      Oct 21, 2020
2                                                                         SEAN F. MCAVOY, CLERK




3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     KEITH ETHAN UNLAND, a married               No. 2:20-cv-00239-SMJ
5    man,
                                                 ORDER ADOPTING STIPULATED
6                              Plaintiff,        PROTECTIVE ORDER

7                 v.

8    SPOKANE REGIONAL HEALTH
     DISTRICT, a Washington State local
9    public health agency, and AMELIA E.
     CLARK, a married woman,
10
                               Defendants.
11

12         IT IS HEREBY ORDERED: Pursuant to Federal Rule of Civil Procedure

13   26(c) and the parties’ stipulation, the parties’ proposed Stipulated Protective Order,

14   ECF No. 8-1, is APPROVED, ADOPTED, and INCORPORATED in this Order

15   by reference.

16         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

17   provide copies to all counsel.

18         DATED this 21st day of October 2020.

19

20                       SALVADOR MENDOZA, JR.
                         United States District Judge


     ORDER ADOPTING STIPULATED PROTECTIVE ORDER – 1
